      Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.



                             No. 3D23-1096
                     Lower Tribunal No. 21-45242 SP



       Indoor Environmental Restoration Now, Inc., etc.,
                                  Appellant,

                                     vs.

            Citizens Property Insurance Corporation,
                                  Appellee.



    An Appeal from the County Court for Miami-Dade County,
Ayana Harris, Judge.

     Tyler Law Firm, and Ryan C. Tyler, for appellant.

     Vernis &amp; Bowling of Broward, P.A., Carlton Bober,              Evan A.
Zuckerman, and Ashley M. Arias (Hollywood), for appellee.


Before FERNANDEZ, GORDO and LOBREE, JJ.

     PER CURIAM.
     Affirmed. Gale Force Roofing and Restor., LLC v. Am. Integrity Ins. Co.

of Fla., 380 So. 3d 1242, 1245-46 (Fla. 2d DCA 2024) (affirming dismissal of

complaint filed by insured’s assignee because the assignment of benefits

attached to the complaint failed to satisfy the requirements of section

627.7125, Florida Statutes (2021), finding the subject agreement invalid and

unenforceable pursuant to section 627.7152(2)(d), noting it was “undisputed

that the document attached to the complaint contains the uppercase and

boldfaced statement required by subsection 627.7152(2)(a)6. But that

statement, by itself, does not include all of the terms expressly required

under the parallel subsection 627.7152(2)(a)2. . . . [N]owhere in the

document attached to the complaint is ‘a provision’ that complies with all of

the express requirements of subsection (2)(a)2.”); Kidwell Grp., LLC v.

United Prop. &amp; Cas. Ins. Co., 343 So. 3d 97, 98 (Fla. 4th DCA 2022)

(affirming dismissal of complaint filed by insured’s assignee because the

assignment of benefits failed to comply with sections 627.7152(2)(a)1 and

627.7152(2)(a)4); Casto v. E. Pass Enters., Inc., 881 So. 2d 699, 700-01

(Fla. 1st DCA 2004) (internal citations omitted) (reversing order granting

appellee an extension of time to file a claim against the decedent’s estate,

where appellee argued that appellant’s participation in previously filed

independent civil action had misled appellee into believing the independent



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action was all that was necessary to secure its claim against the estate and

holding that “material fact” appellee claims appellant allegedly concealed

was the legal requirement to file a statement of claim in the probate division,

stating, “This requirement is found in the probate code and case law and, as

such, was not entirely in Appellant’s control. Because both parties had the

same means of ascertaining the truth as to whether a claim must be filed in

probate court, there can be no estoppel. This is true even though the alleged

estoppel was based on omission. No party can claim ignorance of the law.”);

Harris v. Gonzalez, 789 So. 2d 405, 409 (Fla. 4th DCA 2001) (“A contract

which violates a provision of the constitution or a statute is void and illegal,

and, will not be enforced in our courts.”); Daniels v. Fla. Dep’t of Health, 898

So. 2d 61, 64 (Fla. 2005) (stating that if a statute is clear and unambiguous,

the court must honor its plain language and avoid resorting to rules of

statutory construction).




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